             Case 5:19-cv-00377-JFW-SHK Document 1 Filed 02/27/19 Page 1 of 21 Page ID #:1

                                                                                             ~\
             RICHARD NASSAR                                                    a
                                                                               .~    ~r.,.   N
             11090 SEVEN PINES DR
       2
             ALTA LOMA CA 91737                                                      ~~
                                                                                     ~.
                                                                                        ~
             Tel No. 626.221.8307
       3     Email address: rnassarins@gmail.com                                    ~ ~~ m               "
                                                                                                         :"1
                                                                                    m C~c: PV
             Fax: 909.963.5100                                                      ~ ~~_
       q                                                                            ~,~_~                ~_~~
             PLAINTIFF,IN PRO PER                                                   - ~v -~,
       s                                                                                z~
                                                                                        -~
                                                                                      ~~ r
       6                                                                               ~     t.,~
                                                                                     "
                                                                                     "~
                                                                                     .       ~-
       7

       8 I
                               IN THE UNITED STt~T`E'S DISTRICT CURT
       9
                            FOR TIC CENTRAL DISTRICT OF CALIFORNIA
   io
   li

   ~z                                                                                        ~~
   13
              RICHARD NASSAR
                                                 EDC~19-0~-3~'
                                                    Case No.:
   14
.
....          Plaintiff,                                COMPLAINT
   15
                                                       (Unlawful Debt Collection Practices)                '
                                                                                                           r
                                                                                                           r
~16                               V.

   17
              BANK OF AMERICA,N.A.
~ie

   19         Defendant.
   20

   21


   zz                RICHARD NASSAR ("Plaintiff') alleges the following against BANK OF
   23         ~1V~RICA ("Defendant"):
   24

   2s                                        INTRODUCTION
   26

   2~            1. Count I ofPlaintiffls Complaint is based on the Rosenthal Fair Debt
   Za                Collection Practices Act("Rosenthal"), Cal. Civ. Code §1788 et seq.



                                           PLAINTIFF'S COMPLAINT                                    1~
     Case 5:19-cv-00377-JFW-SHK Document 1 Filed 02/27/19 Page 2 of 21 Page ID #:2



 1
        2. County II ofthe Plaintiff's Complaint is based on Telephone Consumer
 2
           Protection Act("TCPA"),28 U.S.C. §227 et seq.
 3

 4
                                            VENUE
 s      3. Jurisdiction ofthis court over Count II of Plaintiffs Complaint arises
 6
            pursuant to 15 U.S.C. §1331 and 28 U.S.C. §1367 grants this court
           supplemental jurisdiction over the state claims contained in Count I.
 8
        4. Defendant conducts business in the State of California thereby establishing
 9
            personal jurisdiction.
io      5. Venue is proper pursuant to 28 U.S.C. §1391(b)(2).
~i
12
                                            PARTIES
13
        6. Plaintiffis a natural person residing in Alta. Loma, California.
14
        7. Plaintiff is the spouse ofa consumer or debtor that allegedly owes a debt as
15
           that term is defined by Cal. Civ. Code §1788.2(d)-(e).
16
        8. Defendant is a business entity with a business office located in Charlotte,
~~          North Carolina and conducting business in California.
is      9. Defendant is a debt collector as that term is defined by Cal. Civ. Code
19
           §1788.2(c), and sought to recover a consumer debt from Plaintiff's spouse.
20       10. Defendant acted through its agents, employees, officers, members,
zi          directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
22
           representatives, and insurers.
23

24
                                FACTUAL ALLEGATIONS
25
         11. Plaintiff's spouse acquired a credit card from Defendant which was used for
26
           personal, family, and household purposes.
z~
         12. Defendant placed calls to telephone number 626.221.8307, which is
28
           Plaintiffs cellulax telephone. See E~ibit"A" which is Plaintiff's call log.



                                     PLAINTIFF'S COMPLAINT
     Case 5:19-cv-00377-JFW-SHK Document 1 Filed 02/27/19 Page 3 of 21 Page ID #:3



 1
        13. Upon information and belief based on the frequency, number, nature, and
 z         character ofthese calls, Defendant placed each of its calls to Plaintiff using
 3
           an automatic telephone dialing system or other equipment that has the
 4
           capacity to store and/or produce telephone numbers.
 s      14. The purpose ofthese calls was to collect funds from Plaintiffls spouse for
 6
           purchases arising from the credit card.
        15. On or around August 25, 2016,Plaintiff spoke with one of Defendant's
 a         employees and instructed Defendant to stop calling his cell phone number.
 9
        16. Defendant continued to call Plaintiffls cell phone. See E~ibit"A" which
io         Plaintiff's call log.
11
        17. Since June 30, 2016, Defendant has called Plaintiff's cell phone at least one
IZ
           hundred and fifty(150)times. See Exhibit"A" which is Plaintiff's call log.
13
        18. During this time period Defendant called Plaintiff's cell phone as many as
14
           five (5)times in a single day. See E~iibit"A" which is Plaintiffs call log.
15
        19. Plaintiffis annoyed and feels harassed by Defendant's calls.
16
        20. Defendant placed these calls voluntarily.
~~      21. Defendant placed these calls under its' own free will.
18
        22. Defendant had knowledge that it was using an automatic telephone dialing
19
           system to place these calls.
zo      23. Defendant intended to use an automatic telephone dialing system to place
21
           these calls.
zz
23                                        ~''!1T TNT T

24
     DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTIOl'
25
                                    PRACTICES ACT
26
        24. Defendant violated the Rosenthal based on the following:
2~

28




                                   PLAINTIFF'S COMPLAINT                                    i~
     Case 5:19-cv-00377-JFW-SHK Document 1 Filed 02/27/19 Page 4 of 21 Page ID #:4



1
            a. Defendant violated the §1788.11(d)if the Rosenthal by causing
z
               Plaintiff's telephone to ring repeatedly or continuously to annoy the
3
               person called.
4
            b. Defendant violated §1788.11(e) ofthe RFDCPA by communicating, by
s              telephone, with the debtor with such frequency as to be unreasonable and
6
               to constitute a harassment to the debtor under the circumstances.
            c. Defendant violated the §1788.17 ofthe Rosenthal by continuously failing
8
               to comply with the statutory regulations contained within the FDCPA, 15
 9
               U.S.C. §1692 et seq. to wit: Sections 1692d.
io

ii
            WHEREFORE,Plaintiff, RICHARD NASSAR,respectfully requests
12
     judgment be entered against Defendant, BANK OF AMERICA for the following:
13

14
         25. Statutory damages of$1000.00 pursuant to the Rosenthal Fair Debt
15
            Collection Practices Act, Cal. Civ. Code §1788.30(b), and
16
         26. Costs and reasonable attorneys' fees pursuant to the Rosenthal Fair Debt
~~          Collection Practices Act, Cal. Civ. Code §1788.30(c), and
18
         27. Any other reliefthat this Honorable Court deems appropriate.
19

20                                       f'!17TATT iT

21
              DEFENDANT VIOLATED THE TELEPHONE CONSUMER
22
                                    PROTECTION ACT
23
         28. Defendant's actions alleged supra constitute numerous negligent violations
24
            ofthe TCPA,entitling Plaintiffto an award of$500.00 in statutory damages
25
            for each and every violation pursuant to 47 U.S.C. §227(b)(3)(B).
26
         29. Defendant's actions alleged supra constitute numerous and multiple
2~
            knowing andlor willful violates ofthe TCPA,entitling Plaintiff to an award
2s




                                    PLAINTIFF'S COMPLAINT
                                                                                          '~
     Case 5:19-cv-00377-JFW-SHK Document 1 Filed 02/27/19 Page 5 of 21 Page ID #:5



1
           of $1500.00 in statutory damages for each and every violation pursuant to 4i
z
           U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
3

4
      WHEREFORE,Plaintiff, RICHARD NASSAR,respectfully requests judgment be
5
     entered against Defendant,BANK OF AMERICA,for the following:
6

7
        30. Statutory damages of $500.00 for each and every negligent violation of the
8
           TCPA pursuant to 47 U.S.C. §227(b)(3)(B);
 9
        31. Statutory damages of$1500.00 for each and every knowing and/or willful
io
           violation of TCPA pursuant to 47 U.S.C. §227(b)(3}(B) and 47 U.S.C.
~~         §227~b)~3)~C);
12
        32. All court costs, witness fees and other fees incurred; and
13
        33. Any other reliefthat this Honorable Court deems appropriate.
14

15
                                                     RESPECTFULLY SUBMITTED,
16

17

la
      Dated: February 13, 2019                   ~      ~-~.~-- ~---
19

20                                                   RICHARD NASSAR
                                                     11090 SEVEN PINES DR
21                                                   ALTA LOMA CA 91737
                                                     Tel No.626.221.8307
22                                                   Email address: rnassarins@gmail.corr
                                                     Fax: 909.963.5100
23
                                                     Plaintiff, In Pro Per

24

25

26

27


28




                                   PLAII3TiFF' S COMPLAIt3`P                                I~
Case 5:19-cv-00377-JFW-SHK Document 1 Filed 02/27/19 Page 6 of 21 Page ID #:6




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     Case 5:19-cv-00377-JFW-SHK Document 1 Filed 02/27/19 Page 7 of 21 Page ID #:7




                                                       -
                                                       G_~~~_~,L
                                                        crc€oir sotuno~s




                ~~lelcome to Churchill Credit Solutions! CC,S Conr~a~~~er Adi~ocac~~ ~~ants to thank you for ~~our
       commitment of embarking on a journey that will ultimately lead tc> a life that is Eree of debt. \~%e will be here
       uyth ti~ou e~•er}- step of the wad-.

                 ~~'c know that receiving coundcss phone calls from creditors and collection agencies can be stressful
        and agonizing. That is esacdy ~vhy eve are here. Our responsibility is to protect j~ou from harassing creditors
        and put an end to any and all acd~~ns on their part that can be disturbing to }-ou. \`~'e work toget~ier with ~>ur
        clients to ensure a hassle free time whilst in this debt settlement pro~*ram.

                  As a general. polio-, use encourage all of our clients to a~roid engaging in unnecessar~r coneersations
                                                                                                                    at all
        r~7th creditors. Conversing with creditors is our job and we u-ill do so with pour best interests in mind
        times. If 3~~~u receive a phone call from them it is ~-e~~ important that 5~ou do not answer.

                                                                                                                     or more
                 Hoa-e~er, it is unacceptable if you are receiving numerous phone calls evern single dad- (three
                                                                                                    please  continue   to not
        per day per creditor). If this is the case, we ask }~ou to Keep track of these calls and to
                                                                                                    of  phone  calls per day,
        answer. Attached is a page labeled "Call Log". We ask that if you axe netting a plethora
                                                                                                    This   gives us  leverage
        that 5~ou write do~~n each call in the log. date, time, creditor and their phone number.
                                                                                                         have nc~t subsided,
        when we contact theul and ask them to stop all calls. After two weeks, if these phone c311s
                                                                                     in  our po~ver  to  make  them stop as
€~      please mail the attached call log to ot~r office and we will do e~•ervthing
        quickly as possible. Our address is as follows:

                                      Churchill Credit Solutions, LLC
                                      41 l~fadis~~n A~=e, 31'~ Fl
                                      Ne~v~iork,NY 10010                                 i,~~l1 ~~`--.                       ~~ ~-s-~
                                                                           ~~            ~

                  You can also fan us the log if possible. Our fns number is (866) 8~4-1103.

                                                                                                    y:
        In summation,some very important throes to hely Quide vau through the vroaram successfull
                                                                                        is a necessity.
            • Make sure that all automatic payments have been turned off—delinc~uencv
                                                                                                       with
            • Do not communicate with creditors/collectors who call, do not agree to payments
                                                                                      inundated  with  calls
               creditors who callthis will impede settlement negotiations. If you are
                  notify our office and we will issue cease and desist letters.
                                                                                            (this can range
            •     Settlement negotiations began as soon as the banks begin allowing offers
                  from 90 days to 180 dais after pavmencs   have stopped   on the accounts)



                                  have     any    questions       or   concerns, feel     free    to    email    me     at
                Should }ou
                                                                                  Thank you and I  wish you all the best.
        Nfiranda.I<ing@cliurcEtillcreditsolutions.com or call. at (G46) 202-2549.

        Sincerely,
        Miranda King
        Arbitration Department
        Churchill Credit Solutions
        64Cr202-2549
        Miranda.king@ch urch illcreditsol utions.com                                                                            ~~


                                                                                                                                \
                                                                                                                                ~
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                                                                                                                                % ~ Y ~,>
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Case 5:19-cv-00377-JFW-SHK Document 1 Filed 02/27/19 Page 8 of 21 Page ID #:8                     ~.
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                                                                                        ~ -~ ~;~
                                                                                        :
                                                                     ~             ~
   Re: Vassar Susan
    r1CCTS S :    4400 6604 1944 8195               ~wp        J             v          i~~        ~
                                                                                                   r
                  4313 0754 0729 7321                              ~ ~             .:

   To Whom it May Concern:
                                                               ~~             .emu   ~v


          The above referenced individual has contracted with our office in connection to his/her
   debt management case. In that regard, attached please find a Power of Attorney letter autharizing
   our company, Churchill Credit Solutions, LLC,to discuss and resolve the alleged debt of out client.


           Under Public Laws ~~ 95-109 and 99-361, better known as tl~e Fair Debt Collection
   Practices pct, the content and quantity of your communications to our client clearly fall under the
   pur~new cif harassment and, as such, are unlau-ful. As ~f the date cif this letter, 5-~u must cease all
   further telephonic communications with our client, his/her famil~~ and friends, and his/her
   workplace in relation to this and all other alleged debts. If you d~ not comply with this request
   immediatel~~ upon receipt, we will then take all steps necessarS~ nn behalf of our client to su-iftly
   adjudicate this case in a court c>f appropriate jurisdiction, naturally making this case one of public
   record.



                                                                   Respectfully,


                                                                   Arbit~adon Dept.
                                                                   Churchill Credit Solutions, I.I.0
                                                                   41 Madison A~~e, 31" Fl
                                                                   New York, NY 10010
                                                                   (646) 202-2549




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                                                                                                 ~~
Case 5:19-cv-00377-JFW-SHK Document 1 Filed 02/27/19 Page 9 of 21 Page ID #:9



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                                                    F~~IBIT A                         ~ -~v                 ~`
                                                                                                                  u~
                                                                                 ~
                                                                                 `                ~-°        `~.
                                     ~.IMiTEU PQWF.R fJ~ ~T"~'C1R~TEY                   `~           ~~

                                                                                         ~~                 ~~
   I,Susan Vassar, as of6/30/16 ("Pru~ci~a~'"~, l~rr~by
                                                           appoint Churchill Creclit Solutions, LLC,of New
   York, NY 10 10, as my lay=fu1 attorne~~ tcg :icc <;r~
                                                         my behalf and in my name, plate, and stead for the
   sale and limited j~urpose of represcntin~ rn~ ire
                                                        the negotiaxion, modification, reduction, and/ar
   elimination of any ar all outstanding debC(s~
                                                  c~~r~end}' awed and enumerated in Exhibit B - Enratled
   Debt.

   With this .Limited Power of Attorney, Ch~~rrhill ~ ;e<.dit
                                                                   Solutions, LLC is given and granted :full power
   and authority to do and perform all and c:r•erq xtt and
                                                                    thing necessary to be done in and ahc.~ut the
   specific and limited premises (set out he~~cia~f as ti~llq, to
                                                                    a12 intents and purposes, ~~ nui;li~ c,r cr~tfld b~
   done if personally present, with full p~>~c er o!~
                                                             substitution and revocation; ~ztrrl~} rant:, ~i at~~
   canfirmin~ all that said. attor~e~~ shall la~a~ti,91~ d:~ or
                                                                cause [c~ be done by virtue hereof.


                                                                                             Shed:
                Client:Susan Vassar
                DOB: 1!9!1981                                                                ~~~,~                ` ~,~€'
                SSN:XXX-XX-XXXX                                                              t'~-,ri a~l~
                Address: 11090 Seven Pines dr'
                Alta Loma CA 91737                               '                         Date:




                                  'Churchill C ~cdi Solutions, LLC
                                         ~ I Vl.iciisr,~a A~cn~u~, 31s`~'Ioor
                                          New Y~}rl~, Nei= Yark 1001 Q

                                                                                                                  `~\

                                                                                                                  7       ~' '~.
                                                                                                                          ~
                                                                 Documents    --
1 /4/2019 Case                                      1 -Churchill
                    5:19-cv-00377-JFW-SHK DocumentGmail Filed 02/27/19     Page 10 of 21 Page ID #:10

                                                                                                                    richard nassar <rnassarins@gmail.com>
                    -
 Churchill Documents
 12 messages

 m iranda.king~churchiticreditsolutions.com <miranda.king@churchillcreditsolutions.com>                                           Wed, Jul 27, 2016 at 8:37 AM

   Welcome to the program Susan. Please find the attached inVoduction documents: contact sheet, income form, hardship form, and call log. Please
   record any calls from creditors that you receive regarding the accounts and forward the log to our office so we know who to send cease and desist
   letters out to. We'll need income and hardship information down the road when we begin negotiations on the accounts. Please forward any
   questions/concerns to our office via email/mail.

   Best,

   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


    4 attachments
         Call Log.docx
         17K
        Consumer Advocacy Welcome Letter.docx
        36K
    ~•~ Hardship Request Fortn.docx
        33K
    +~ Income Questionnaire.pdf
       11 BK


 richard nassar <massarins@gmail.com>                                                                                             Mon, Aug 1, 2016 at 10:49 AM
 To: miranda.king@churchillcreditsolutions.com

   Hello Miranda

   Here is a hardship info and Income list as well as some call logs of numbers that we are still getting calls from constantly. Please work on having these
   calls stopped.

   Thank you

                                                                         Richard Nassar
                                                                         Lic.# OD83052
                                               PRIME FIDELITY INSURANCE AGENCY
                                                                        "TRVSTED FIRST'
                                                                  350 S. Milliken Ave, Suite M
                                                                       Ontario Ca 91761
                                                                        909-245-0822
   [Quoted text hidden]


         churchill.pdf
         2183K


  richard nassar <massarins@gmail.com>                                                                                              Tue, Aug 9, 2016 at 2:17
  To: miranda.king@churchillcreditsolutions.com

   Here are more call logs just from a week of August. I need to know a status on what you have done so far with our account. Please sen me copies of
   any documents that have been sent out to the creditors so far. I would like a update on the status thus far.

   Thank you
                                                                         Richard Nassar
                                                                         Lic.# OD8305Z
                                               PRIME FIDELITY INSURANCE AGENCY                                                                ~j/~
                                                                        "TRUSTEb FIRST'
                                                                  350 S. Milliken Ave. Suite M
                                                                       Ontano Ca 91761
                                                                        909-245-0822                                                                   .s
    On Wed, Jul 27, 2016 at 8:37 AM, <miranda.king@churchillcreditsolutians.com> wrote:                                                                     ~-~

                                                                                                                                                                  114
https://mail.google.corn/mail/u/1?ik=cc82e02240&view=pt8search=all&permthid=thread-f%3A1541022767593696731 &simpl=msg-f/o3A15410227675...
       1 /4/2019 Case       5:19-cv-00377-JFW-SHK DocumentGmail
                                                            1 -Churchill
                                                                Filed 02/27/19
                                                                         Documents Page 11 of 21 Page ID #:11
         [Quoted text hidden]                                                                                              C~ I-1 ~ i~ ~-r ~
                call log august first week.pdf
                916K


        miranda.king@churchillcreditsolutions.com <miranda.king@churchilicreditsolutions.com>                                               Wed, Aug 10, 2016 at 7:38 AM
        To: richard nassar <massarinsQgmail.com>

          Hello Richard, attached are copies of the PoA and Cease and Desist letters that were distributed at the beginning of August to each of the banks (the
          C&D are each personalized with acct numbers). Generally, the banks process within 14 business days(some are much quicker and will have them
          on file within a week).

          Best,

          Miranda King
          Associate Debt Arbitrator
          Churchill Credit Solutions
          41 Madison Ave 31st Floor
          New York, NY 10010



          ~Quoied text hidden]


           2 attachments
                Cease and Desist Form Letter.docx
                53K
                Nassar, Susan PoA updated.pdf
                59K


        Insurance <rnassarins@gmail.com>                                                                                                     Wed, Aug 10, 2016 at 8:03 AM
        To: miranda.king@churchillcreditsolutions.com

          Awesome thank you

          Sent from my iPhone
          [(quoted text hidden]

                   <Cease and Desist Form Letter.docx>

                   <Nassar, Susan PoA updated.pdf>


                                                                                                                                            Tue, Aug 23, 2016 at 11:24 AM
        richard nassar <massarins@gmail.com>
        To: miranda.king@churchillcreditsolutions.com

          Hello Miranda,
                                                                                                                                    they are getting more aggressive.
          These calls are getting worst and have not slowed down one bit. 1 am now receiving calls from different numbers and
                                                            these guys,  but would it be an issue if i directed them to you or Neil's or even a company phone number
          know Neil had asked me not to communicate with
                                                                                                                                  can deal with them directly. Here is
          for Churchill since your company is representing me at this time. This way the call stop coming into me and you guy
          another list of numbers. Please give me any new updates on my account.

          Thank you
                                                                                Richard Nassar
                                                                                Lic.# OD83052
                                                      PRIME FIDELITY INSURANCE AGENCY
                                                                              ~•rn~sre~ ~usr~
                                                                         350 S. Milliken Ave, Suite M
                                                                              Ontario Ca 91761
                                                                                909-245-0822

          [Quoted text hidden]


                log for 2nd half aug.pdf
                2476K                                                                                                                                   __    _ ._

                                                                                                                                  !~         Thu, Aug 25, 2016 at 11:30 AM
` j ,,~ miranda.king@churchillcreditsalutions.com <miranda.king@churchilicreditsolutions.com>                                      ~...,
        To: richard nassar <massarins@gmail.com>                                                                                           "~ _ ._ .
                                                                                                                                                               ome     (~,
   ~      Richard, please feel free to direct them to our office, you can give them my phone number 646.202.2551. I am looking into seeing if t e
          support that Veritas can provide to knock the calls out                                                                                                   ~._.~- J'
       https://mail.google.com/maillu/1?ik=cc82e02240&view=pt&search=all&permthid=thread-f°/a3A 1541022767593696731&sim pl=msg-f°/a3A1                       27675... Z4
1/4/2019 Case       5:19-cv-00377-JFW-SHK DocumentGmail
                                                    1 -Churchill
                                                        Filed 02/27/19
                                                                 Documents Page 12 of 21 Page ID #:12


   Miranda King                                                                                                  ~ ~ ~ ~ ~ ~ `~
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


   Contact us for more information about receiving compensation for referrals!



      -------- Original Message --------
      Subject: Re: Churchill Documents
      From: richard nassar <massarins(c~gmail.com>
      [Quoted text hidden]



 Insurance <rnassarins@gmail.com>                                                                                              ~       Fri, Sep 9. 2016 at 2:04 PM
 To: miranda.kin g@churchillcred itsol utions.com                                                                              '~-..,. _,_,     _.__, ... ..._,..-_.

   Can you please ask Niel what is going on with the calls that I am still getting. He was suppose to get back to me in regards to what has been done about
   the calls still coming in. This issue is still not resolved and I'm getting more calls then before

  Sent from my iPhone
  (Quoted text hidtlenJ

                                                                                                                                   Mon, Sep 12, 2016 at 8:21 AM          )
 miranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>
 To: Insurance <rnassarins@gmail.com>                                                                                         '`

                                                                                                                                              I why
   Hi Richard, I know we issued cease and desist letters, but I'll make sure we check into them today and see why they haven't been processed
   you're still receiving calls.

   Best,

   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


   Contact us for more information a6ouf receiving compensatlon for referrals)



      -------- Original Message --------
      Subject: Re' Churchill Documents
      [Quoted text hidden]


                                                                                                                                   Thu, Sep 22, 2016 at 9:02 AM
 Insurance <rnassarins@gmail.com>
 To: miranda.king@churchillcreditsolutions.com

   Good morning Miranda,
                                                                                                                 suppose to be in the loop every step of the
      need and update by the end of today please. I need to know exactly what is going on with my account. I was
                                                                                                                         to know where my money is going
   way and all that I see happening is that my money is being drafted each month and these call are not stopping. I need
   and what steps have    been takes so far.
                                                                                                                     creditors is your number and not you
   Also the only phone number I seem to have for the coming is yours and Niel. The number you gave me to give to
                                                                                                              number. I would also like the company's info
   legal department. I would like your company's main phone number as well as your legal departments phone
   that is drafting my account each month because I noticed iYs not Churchill that is taking the money.

   Sincerely
   Richard Nassar

   Sent from my iPhone
   (Quoted text hidden

                                                                                                                                   Thu, Sep 22, 2016 at 11:34 AM
 miranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>
 To: Insurance <massarins@gmail.com>

    Hello Richard,
                                                                                                                   you'd like an update in between you'd just
   Firstly, we do not generally reach out to clients unless we run into an issue or a settlement is reached, so if                                                -_
   need to reach  out  to us.
                                            to be coming  to me since  I am the arbitrator on your file.                                          ~
   Any calls regarding your account need                                                                                                                      `~.L;7
                                                                                                                                                           ~ ,..
                                                                                                                                             j~ ~
   If you need an alternative number you can call 646 202 2549.
                                                                                                     696731              &simpl=msg-f%3A1         10227675...      3/4
https://mail.google.com/maillu/1?ik=cc82e02240&view=pt8search=all&permthid=thread-f%3A 1541022767593
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                                                                Documents Page 13 of 21 Page ID #:13
   Your money is ONLY going directly into an escrow account with Global (an escrow company). The money is literally sitting in that account until a
   settlement is reach, at which the funds are deployed to the bank from that account.
   PoAs have been sent on each of your accounts; however it will be at least another couple months before your accounts are charged off(this is when
   the banks allow us to begin submitting settlement offers, depending on the bank this will range from 90-180 days after your final payment on the
   account was made).

   I've forwarded your message to Victor Castaldo at Veritas, the attorneys, regarding the calls you have been receiving. Since we have already sent
   PoAs and Cease and desist letters, they will need to step in and take further action. Please let me know if you have any other questions or concerns
   and I can address it or have Neil reach out to you directly.

   Best,

   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


   Contact us for more intvrmation about receiving compensation for ie(errals!




      -------- Original Message --------
      Subject: Re: Churchill Documents
      From: Insurance <rnassarins{~gmail.com>
      (quoted text hidden



                                                                                                                                Thu, Sep 22, 2016 at 11:44 AM
 richard nassar <massarins@gmail.com>
 To: miranda.king@churchillcreditsolutions.com

   Hello Miranda,
                                                                                            calls hounding me every day. Especially when i was told they
     appreciate the update on my account. I hope you understand my frustration with these
                                                                                    is it your companies main number or the attorney's number? Should i
   would stop and none of the call have. This alternative number you are giving me,
                  to your number or to the alternative number you provided me? Also i have  had some account already go to collections, what do i do in that
   transfer calls
   case?

   Thanks
   Richard
                                                                                       Richard Nassar
                                                                                       Lic.# OD93052

                                                                                      ^raus-reo ~sr~
                                                                                 350 S. Milliken Ave, Suite M
                                                                                      Ontario Ca 91761
                                                                                   Office: 909-276-7160
                                                                                     Fax: 909-963-5100
   [Quoted text hiCden~




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                                                               Susan Nassar]Page 14 of 21 Page ID #:14
                                                                                                       ~k.I--t ~ i~ t~~
                                                                                                       richard nassar <rnassarins@gmail.com>



[FWD: RE: Susan Nassar]
 4 messages

 m iranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>                          Thu, Sep 22, 2016 at 12:21 PM
 To: richard nassar <massarins@gmail.com>

   Richard, have you received calls on only the home number or cell/work numbers as well?

   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


   Contact us for more information about receiving compensation for referrals!




      ------- Original Message -------
      Subject: RE: Susan Nassar
      From: Victor Castaldo <victor@veritaslegalplan.com>
      Date: Thu, September 22, 2016 3:00 pm
      To:"miranda.kings?churchillc~editsolutions.com"
      <miranda.king@churchi(Icreditsolutions.com>

      Hi Miranda,
      Were they called on the home number?




       Victor Castaldo
       Ph# 877-745-5006 ext 1004
       Fax# 888-774-4271
       Email: Victor@Veritaslegalplan.com




                                                .._                 ____~                       utions.com]
       Frorrr: Ynranda.king@churchillcreditsofutions.com jmaifto:miranda.king@churchillcreditsol
       5~'nt: Thursday, September 22, 2016 2:34 PM
                                                    _ oma-'
       lot Victor Castaldo <victor@veritaslegalplan.c
                                                    .
       Subj~ct:.~usan Nassar            _._. .

                                                                                                            collection calls from
      Hi Victor. Our clients Susan and Richard Nassar have been being inundated with very aggressive
                                                                     their call logs,  We  have sent PoAs  and  Cease and Desist
      [mainly] Discover, Richard while he is at work. I've attached
                                                   They've asked them  to stop  calling repeatedly.  Is there anything  you guys
      letters, but the calls just keep continuing.
      could do to  intervene?                     ""       ~"~   "'~

                                                                                                 way to contact].
       Contact: Richard Nassar, 904-245-0822, rnassarins@gmail.com [email is usually the easiest

       Thank you

       Miranda King
       Associate Debt Arbitrator
       Churchill Credit Solutions
       41 Madison Ave 31st Floor
       New York, NY 10010
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       Contact us for more information about receiving compensation for referrals!

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 richard nassar <massarins@gmail.com>                                                                                                                                     Thu, Se 22, 2016 at 12.26 PM
 To: miranda.king@churchillcreditsolutions.com
                                                                                                                                                 for
   most of the calls are coming to my cell and mossy my wife's cell daily multiple times a day and sometimes back to back from the same company.
   instants Discover is now calling from this number 480-481-1846 and some are blocking their numbers now

                                                                                        Richard Nassar
                                                                                        Lic.# OD83052
                                                       PRIME FIDELITY INSURANCE AGENCY
                                                                                       ~~~u~s~o ~sr~
                                                                                  350 S. Milliken Ave, Suite M
                                                                                       Ontario Ca 91761
                                                                                     Office: 909-276-7160
                                                                                      Fax: 909.963-5100
   [Quoted teM hidden


                                                                                                                                                                           Thu, Sep 22, 2016 at 12:49 PM
 miranda.king@churchillcreditsolutions.com <miranda.king@churchilicreditsolutions.com>
 To: richard nassar <massarins@gmail.com>
                                                                                                    details of the calls you are receiving.
   Richard please see the message below. Please contact veritas at 877 745 5006 ext 1014 to go over

   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


    Contact us for more information about receiving compensation for referrals!




       -------- Original Message --------
       Subject: RE: Susan Nassar
       From: Victor Castaldo <victor(a?veritaslegaiplan.com>
       Date: Thu, September 22, 2016 3:37 pm
       To: "miranda.king@churchillcreditsolutions.com"
       < miranda.king@churchillcredi[solutions.com>
                                                                                Brittney. She will be able to help them. if she is
        No Problem.. Tell her to call Veritas again and enter ext 1014 that is
        not there tell Susan to leave a message and she    will get back to her.



        Victor Castaldo
        Ph# 877-745-5006 ext 1004
        Fax# 888-774-4271
        E mail: Victor@Veritasleg~lplan.com




                                                                                                           hurchillcreditsalutions.com]
        From: miranda.king@churchillcreditsolutions.com [mailko:miranda.king@e
        Sent: Thursday, September 22, 2016 3:30 PM
        To: Victor Castaldo <victor@veritaslegalplan.com>
        Subject: RE: Susan Nassar


                                                                          phones.
        Thanks for getting back to me Victor. They are calling their cell
         ~Ouutetl text hitlden~


                                                                                                                                                                              Thu, Sep 22, 2016 at 12:59 PM
   richard nassar <massarins@gmail.com>
   To: miranda.king@churchillcreditsolutions.com

     Awesome Thank you
                                                                                                                                                                                                                   ~~ >

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                                                           Susan Nassar] Page 16 of 21 Page ID #:16
                                                                Richard Nassar
                                                                Lic.# OD83052
                                         PRIME FIDELITY INSURANCE AGENCY
                                                               ~~rrtusrEo Fntsr~
                                                          350 S. Milliken Ave, Suite M
                                                               Ontario Ca 91761
                                                            Office: 909-276-7160
                                                              Fax: 909-963-5100

   [quoted [ems hidden)




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                  Churchill Credit Solutions Consumer Advocacy
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